                 United States District Court
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
                          Plaintiff,
            v.                                        Case No. 17-CR-124

MARCUS HUTCHINS
                          Defendant.



           PLEASE TAKE NOTICE that the above-entitled case is scheduled for:

                     HEARING ON MOTION TO COMPEL
          at the Federal Courthouse, 517 E. Wisconsin Ave., Milwaukee, WI 53202

           Courtroom Number 253 on February 22, 2018 at 1:30 p.m. (CST)

                                 before Hon. Nancy Joseph




Date: February 9, 2018                                STEPHEN C. DRIES
                                                      Clerk of Court

                                                BY: s/ Karen Fahrenkrug
                                                    Deputy Clerk
                                                    (414) 297-3298


Counsel
AUSA Benjamin Proctor
AUSA Michael Chmelar
Atty. Brian Klein
Atty. Marcia Hoffman
Atty. Daniel Stiller




      Case 2:17-cr-00124-JPS-NJ Filed 02/09/18 Page 1 of 1 Document 47
